Case 1:05-cv-01116-.]DT-STA Document 3 Filed 06/09/05 Page 1 of 2 Page|D 1

 

 

 

 

Ao 240A (1/94) __ ___ _ _
; United State_s Distric'_t Court
\,»-\,f o stare msij di 7;,; nw _§Q§;:a d bia s doc
ll ]' Q/EQ*<'Q §f"*/ }/ ` ORDER oN APPLICATION
T_o PROCEED WI_THoUT
PREPAYMENT oF FEES

Plaintifl

._v - ,; ',]
L"`”@‘M\Q`“\;AK'Q cAsENuMBER:l~O§-l]l6 '.HI

Detendant §

l-laving considered the application to proceed without prepayment offees under 28 U.S.C. §1915;

IT lS ORDERED that the application is:

MANTED. f '_
13 ii

Me clerk is directed to file the complaint
_“-1 _ §§ C:}
l:l |T lS FURTHER ORDEF{ED that the clerk issue summons and the United States m%?shal@rve

a copy of the compiaint, summons and this order upon the defendant(s) as directed by the
plaintitf. Al| costs of service shall be advanced by the United States.

:9 iin 9- wingo

 

l:| DEN|ED, for the following reasons

g!:ér dayof %W"L ,1%1-@0§

`ENTEFl this

 

 

liance 3‘9"
he dockets 91 m co . ' »
°““‘°“‘°“`°'°d°"t f AW
Tbls do .°r 79 (a] FHGP on / < l ‘
' ' Name and Tlt|e ot Judicia| Oflicer y ' 3

with Flula 58 and

   

UNITSTED`ATES DISTRICT C URT - WEST RN D"ISRICT OF TNNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CV-011]6 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

Bede Anyanwu
P.O. Box 12022
Jackson, TN 38008

Honorable J ames Todd
US DISTRICT COURT

